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            EXHIBIT 1
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   Attorneys for Activision Blizzard, Inc.
12
13                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
14
      ACTIVISION BLIZZARD, INC.,                      Misc. Case No.
15
                    Moving Party,                     Underlying action in United States
16                                                    District Court for the Northern District
             v.                                       of California, No. 3:22-cv-08991-JSC
17
      DANTE DEMARTINI, CURTIS                         ACTIVISION BLIZZARD, INC.'S
18    BURNS JR., NICHOLAS ELDEN,                      NOTICE OF MOTION TO QUASH
      JESSIE GALVAN, CHRISTOPHER                      THIRD-PARTY SUBPOENAS
19    JOSEPH GIDDINGS-LAFAYE,
      STEVE HERRERA, HUNTER                           Fact Discovery Cutoff: TBD
20    JOSEPH JAKUPKO, DANIEL                          Expert Discovery Cutoff: TBD
      DERMOT ALFRED LOFTUS,                           Pretrial Conference and Trial Date: TBD
21    BEOWULF EDWARD OWEN, and                        Hearing Date: TBD
      IVAN CALVO-PÉREZ,
22
                    Responding Parties.
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     ACTIVISION BLIZZARD, INC.’S NOTICE OF MOTION TO QUASH
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 1                                     NOTICE OF MOTION
 2          PLEASE TAKE NOTICE that Moving Party Activision Blizzard, Inc.
 3 (“Activision”) files this miscellaneous action to quash Responding Parties Dante
 4 DeMartini, et al.’s (the “DeMartini Plaintiffs”) Non-Party Subpoenas served on
 5 January 30, 2023 (the “Subpoenas”). The Subpoenas are part of ongoing discovery in
 6 a pending action filed by the DeMartini Plaintiffs against Microsoft Corp.
 7 (“Microsoft”) in the United States District Court for the Northern District of
 8 California. See DeMartini, et. al v. Microsoft Corp., No. 3:22-cv-08991-JSC (N.D.
 9 Cal.). Activision respectfully requests that the Court quash the DeMartini Plaintiffs’
10 Subpoenas.
11          Activision’s Motion To Quash the DeMartini Plaintiffs’ Third-Party Subpoenas
12 is based on this Notice of Motion, Activision’s portion of the Joint Stipulation, the
13 Declaration of Julia K. York in Support of Activision’s Motion to Quash and
14 accompanying Exhibits 1 through 9, any supplemental memorandum to be filed in
15 connection with this Motion, and such other additional information or argument as
16 may be presented at or before the hearing on the Motion.
17          This Motion is made following meet and confers between counsel pursuant to
18 Civil Local Rule 37-1, which took place on February 3, 2023 and February 10, 2023,
19 and written correspondence on February 8, 2023. During the meet and confers
20 between counsel, the parties were unable to resolve the issues.
21          A Proposed Order granting this Motion is being filed contemporaneously
22 herewith.
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     ACTIVISION BLIZZARD, INC.’S NOTICE OF MOTION TO QUASH
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 1 DATED: February 24, 2023                      By: /s/ Caroline Van Ness
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     ACTIVISION BLIZZARD, INC.’S NOTICE OF MOTION TO QUASH
